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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

 

 

for the
Eastern District of Louisiana
)
Timmie Danos, Inc. }
)
Plaintiff(s) )
< } Civil Action No. 2:20-cv-00509 H(4)
) ~
David Mott ) P Ba. ¢ Wes
ny Ptr
Defendant{s) )
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address}
David Mott, P.O. Box 151, Cut Off, La. 70345

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Fred E. Salley
77378 Hwy 1081
Covington, La. 70435

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Date: __ Feb 13 2020

 

 
 

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Civil Action No. 2:20-cv-00509 H(4)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any) 2) AV i ot /M oO fF; f
was received by me on (date) 2) 5 ~20 ID.
(1 personally served the summons on the individual at (place) /4/ East fF th Stree fa
Larose , La on (date) 2 -/$ -2020;0

C1 I left the summons at the individual’s residence or usual place of abode with (name)

 

 

, 4 person of suitable age and discretion who resides there,
on (date) , and mailed a copy to the individual’s last known address; or

 

0 I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of arganization)

 

ON (date) 3; or

 

0 [returned the summons unexecuted because 3 OF

 

1 Other (specify):

- 722.50
My feesareS 205, CO for travel and $ 5/ L 50 for services, for a total of $ =e.

I declare under penalty of perjury that this information is true. .

Date: O pa -/ PPO Zo

a, FY Server’ § signature

LO tha Key Jenkins We ferver

/ Printed name and title

ASYH FussciH/ fad Lov; ngfor_L La FOYFS

Server's address

Additional information regarding attempted service, etc:
